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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                             Miami Division

                                     CASE NO: 21-cv-21191-DPG

   MAURICIO USME, M.D., SAFETY OFFICER
   LUKASZ ZUTEREK, CAROLINA VASQUEZ,
   JAVIER PEREZ, JOHAN ORTIZ, LUZ GAVILAN
   AND MARVIN PAZ

          Plaintiffs,
   v.

   CMI LEISURE MANAGEMENT, INC.;
   CRUISE MANAGEMENT INTERNATIONAL, INC.,
   and VIKAND SOLUTIONS, LLC.

          Defendants.
                                        /

                                    NOTICE OF SETTLEMENT

        The Plaintiffs MAURICIO USME, M.D., SAFETY OFFICER LUKASZ ZUTEREK,

CAROLINA VASQUEZ, JAVIER PEREZ, JOHAN ORTIZ, LUZ GAVILAN and MARVIN PAZ,

hereby notify this Honorable Court that all claims and causes of action between or among the parties have

been amicably resolved. The parties are in the process of finalizing the settlement. Once the parties have

exchanged the settlement documents for the settlement draft, the parties shall submit a Stipulation of

Dismissal to the Court.

                                       Certificate of Good Faith

        Undersigned counsel certifies that pursuant to the local rules of court he has conferred with

Defendant’s counsel, who is in agreement to the filing of this Notice.

               DATED: December 16, 2024.
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                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 16, 2024, this document was electronically filed with

the Clerk of the Court using CM/ECF and served by email transmission on William F. Clair, Jerry D.

Hamilton, Annalisa Gutierrez, Evan Gutwein and Gilda Chavez, Hamilton, Miller & Birthisel, 150 S.E.

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                                                  Respectfully submitted,

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                                               By: /s/ Louis A. Vucci, Esq.       .
                                                  Louis A. Vucci, Esq.
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